           Case 3:19-cv-00837-DJN Document 3 Filed 11/15/19 Page 1 of 4 PageID# 17




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  CLERK,U.S. DISTRICT COURT
        RICHMOND.VA
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           Case 3:19-cv-00837-DJN Document 3 Filed 11/15/19 Page 2 of 4 PageID# 18
Virginia Land Record Cover Sheet
Forma- Cover Sheet Content

Instrument Date:
Instrument Type:
Number ofParcels:       P             Number ofPages: „..8.                           Doc ID: 003669160009 Type: OTHER
                                                                                      Recorded: 11/13/2019 at 03:09:00 PM
                                                                                      Receipt#: 2019-00006581
[ ]City 1X1 County                                                                   Fee Amt: $22.00 Page 1 of 9
                        J^UISA                                                       Instr# 201900010027
                                                                                     Patty 0, Madison, Louisa Clerk of Coi
TAX Exempt?                 Virginia/FederalLaw                                      Patty 0. Madison Clerk of Court
                                                                                     File#
[]Grantor:
[ ]Grantee:
                                                                                     bk1642™505-513
Consideration:                            .?.P«PP
Existing Debt:                            .?.P:PP
Actual Value/Assumed:                     .?.Q*.PP
PriorInstrument Under§58.1-803(0):
  Original Principal:                                $P*PP
  Fair Market Value Increase:                        $8.00                                           {Area Above Reserved ForDeed Stximp Oniy)
  Original Book Number:                       Original Page Number:                        Original Instrument Number:
Prior Recording At:[ ]City[ ]County
                                                                       Percentage In This Jurisdiction:

   Business/Name
...1.. [ 1 Grantor: JP.HNSpN..
        [ 1 Grantor:
...H... [ 1 Grantee:
        [ ]Grantee:
Grantee Address
Name: MARK JOHNSON
Address: 4M M^J^^
City:.LPyA®A                                                                      State: ....YA... Zip Code:
Book Number:                          Page Number:                              Instrument Number:
Parcel Identification Number(PIN):                                      Tax Map Number:
Short Property Description:

CurrentProperty Address:
City!                                                                             State;               Zip Code:
Instniment                   IsjjCOM^^                                     Recording Paid By: JOHNSON,.MAR^^
Recording Retnmed To: .JOHNSONjMARK CHRISTOPHE
 Address: 451 MAY LAN^
aty. LOUYiSA                                                                      State: ...yA,.. Zip Code:                    23093




 FORM CC-1570 Rev:7/15                                       Page 1 of 1                                                           Cover Sheet A
 §§ 17.1-223,17.1-227.1,17.1-249
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        Case 3:19-cv-00837-DJN Document 3 Filed 11/15/19 Page 3 of 4 PageID# 19




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I?.   77^' <.'7 * ,                ^;*'''■. i^^-i'-', ' .
     Case 3:19-cv-00837-DJN Document 3 Filed 11/15/19 Page 4 of 4 PageID# 20

                                      GRANTOR:Johnson, mark cristopher
                                                                                                      RE 631 106 895 US
                                      GRANTEE:To whom it may concern

                                                                                                     September 2019

                                      LETTER OF INDEMNITY
                                      and Declaration of Solvency
                                                       with
                                         LAWFUL CONSIDERATION
       \oVms&n


                 Re: Proofoffinancial indemnity by and through SILVER BULLION
                        BOND #RE631106895USas registered through the UPU.


 To all whom these presents shall come» greetings*
 Iflease find enclosed herein the Original SILVER BULLION BOND # RE681106895US
 if^ch is held on file by the grantee/beneficiary/fireeholder,a living man who is fiilly
 solvent and known as mark Christopher ofthe house of Johnson.
  For and in lawfiil consideration ofsum certain twenty-one dollars pre-1933 united states
 olAmerica Silver Dollars in lawful currency in hand held by and through the silver
 bi^on bond # RE63|1;106895US thereof well and truly paid,tendered and returned by
 grimteeA>eneficiaryj|vi^i;^k Christopher ofthe house ofJohnsra,a private American
national ofthe unid^^|||||^j|of.^merican and privatelgl^^^j|^0ytlte land known as
Virginia state ofthe            wiibm^a non-militarvp^^^^^^^^^ estate* outside a
"Federal zone"and no               M
                                     p.th4)j|Lpsdicti<j       ^^I^ed States Inc."
This Lawful Consideration                      _           l^i^iEight of a negotiable instrument
endorsed in blank by legal ifi^ons for               ^ ^l^und extinguishment ofany and
all liabilities* suites* debts* cai^esriifil^^lSji^i^iihi ^i^nnncumbrances,all suretyship,
 obligations,oaths* expressed or imp&d^(M^h#                   ^ p)dilvent parties known as *^ark
 Christopher Johnson'* et al^ poy indivi^i^nlf^j                     ise of Johnson,including but not
 limited to spouse* family, posterity and^^ipth                  ^/ies requiring Bonding,surety or
 liability coverage,along with ahyi^l 1|^^^                       liens,levies* charges and other
 encumbrances or forbearapoes* but eim                           funds* interest escheat,legacy or
 their transmutations.



                                 i, mark chnstopher, private American national,
                                Grantee/ Beneficiary - without recourse-


                                             Acknowledgement


                   _state

                  _county

 Acknowledged before me this (D^ day                            20         by Johnson, mark Christopher.
                                                                     Commonwealth of Virginia
 Notary                                       {seal}              Michelle B Neely - Notary Public
                                                                     Commission No;
                                                                                wo;7525475

                                                                 My Commission Expires 03/31^J
Attached: Silver Bullion Bond Copy:
#RB631106895US

                                                  Page 1 of1
 UCC# 2019-249-2449-0
